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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

STEPHANIE SUTTLE,                           )
                                            )
                        Plaintiff,          )
                                            )       Case No. 19 cv 4541
       v.                                   )
                                            )
STEPHEN CALK and THE FEDERAL                )       Judge Joan H. Lefkow
SAVINGS BANK,                               )
                                            )
                        Defendants.         )

                                      NOTICE OF FILING

To:    John D. Galarnyk
       Andrew J. Cuniff
       John Romanucci

        PLEASE TAKE NOTICE that, on April 30, 2021, the attached Defendants’ Statement of
Material Facts as to Which There is No Genuine Issue was filed with the Clerk of the United States
District Court for the Northern District of Illinois, Eastern Division.


                                                    STEPHEN CALK and THE FEDERAL
                                                    SAVINGS BANK


                                                    By     /s/ Daniel S. Hefter
                                                           One of Their Attorneys


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Dated: April 30, 2021
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

STEPHANIE SUTTLE,                              )
                                               )
                         Plaintiff,            )
                                               )     Case No. 19 cv 4541
       v.                                      )
                                               )
STEPHEN CALK and THE FEDERAL                   )     Judge Joan H. Lefkow
SAVINGS BANK,                                  )
                                               )
                         Defendants.           )

           DEFENDANTS’ STATEMENT OF MATERIAL FACTS AS TO WHICH
                         THERE IS NO GENUINE ISSUE

       Pursuant to Local Rule 56.1, defendant Stephen Calk and defendant/counter-plaintiff The

Federal Savings Bank submit the following statement of material facts as to which there is no

genuine issue in support of their motion for summary judgment:

       1. The loan documents Stephanie Suttle (“Suttle”) signed were for a one-year loan at an

adjustable interest rate, calculated as the 1-year LIBOR rate plus 5%, with a minimum rate of

7.25% and a maximum rate of 12.25%. The 7.25% minimum rate prevailed during the entire

one-year term of the loan. (Stephanie Suttle dep., Exhibit 1 hereto, p. 77 and Exhibit 18 thereto,

p. 1; LIBOR historical rate compilation,

https://www.macrotrends.net/1433/historical-libor-rates-chart, copy attached hereto as Exhibit

21.)

       1
           FRE 201(b) provides, in pertinent part:

         The court may judicially notice a fact that is not subject to reasonable dispute because
it...can be accurately and readily determined from sources whose accuracy cannot reasonably be
questioned.

       Historical interest rates are a proper subject of judicial notice. Stein v. JP Morgan Chase
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       2. Suttle and her ex-husband were divorced on May 7, 2013. (Defendants’ Third Request

for Admissions, Exhibit 3 hereto, ¶5 and Exhibit 35 thereto and Stephanie Suttle’s Answers to

Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶5.)

       3. By the middle of 2016, the only unresolved financial issue between Suttle and her ex-

husband was their marital home, which they jointly owned. (Suttle dep., Exhibit 1 hereto, pp. 10-

11.)

       4. Suttle wanted to purchase her ex-husband’s interest in their former marital residence,

needed approximately $398,000 to make the purchase, and had to get those funds to the trustee who

had been appointed by the divorce court to sell it by October 28, 2016 or the house would be sold

to her ex-husband or a third party. (Suttle dep., Exhibit 1 hereto, pp. 10-13 and p. 61; Defendants’

Third Request for Admissions, Exhibit 3 hereto, ¶4 and Exhibit 34 thereto and Stephanie Suttle’s

Answers to Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶4.)

       5. Suttle had begun working on a mortgage loan with Ramiro Moreno (“Moreno”), a loan

officer at NFM Lending, in August of 2016. (Suttle dep., Exhibit 1 hereto, pp. 27-28; Ramiro

Moreno dep., Exhibit 5 hereto, pp. 4-5.)

       6. At all times from no later than October 16, 2013 through April 13, 2021, Suttle was



Bank, 279 F. Supp. 2d 286, 290 (S.D.N.Y. 2003).

       FRE 201(c) provides, in pertinent part:

       The court...must take judicial notice if a party requests it and the court is supplied with
the necessary information.

       The defendants hereby request that the Court take judicial notice of the historical 1-year
LIBOR interest rates for the relevant time period which the defendants have provided to the
Court.

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delinquent in filing her federal and state income tax returns and in paying her income taxes.

(Stephanie Suttle’s Answers to Defendants’ Second Requests for Admission, Exhibit 6 hereto, ¶¶1-6;

Suttle dep., Exhibit 1 hereto, pp. 29-30 and pp. 88-89 and Exhibit 8 thereto; Defendants’ Third

Request for Admissions, Exhibit 3 hereto, ¶1 and Exhibits 14, 18 and 20 thereto and Stephanie

Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶1.) As of

October 28, 2016, she had not filed her returns or paid her taxes for 2012, 2013, 2014, or 2015. (Id.)

As of April 13, 2021, she had not filed her returns or paid her taxes for 2012, 2013, 2014, 2015,

2016, 2017, 2018, 2019, or 2020 and owed more than $400,000 in back taxes, penalties, and interest.

(Id.)

        7. A person who has failed to file income tax returns and pay income taxes is not eligible

for a traditional mortgage loan until the returns are filed and the taxes are paid. (Moreno dep.,

Exhibit 5 hereto, pp. 6-8; Stephen Calk deposition, Exhibit 7 hereto, pp. 27-28, p. 33; Stephen Calk

affidavit, Exhibit 8 hereto, ¶5.)

        8. On September 14, 2016, in an e-mail with “Tax Returns” in the subject line, Moreno said

to Suttle:

        The answer was pretty short and sweet. Get with the tax guy and see what you need
        to do to get them filed as soon as you can.

(Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶1 and Exhibit 6 thereto and Stephanie

Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶1.)

        9. On September 28, 2016, in an e-mail with “Following Up” in the subject line, Moreno

asked Suttle:

        Any headway on the tax returns? Have you at least talked to the accountant yet?



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(Moreno dep., Exhibit 5 hereto, pp. 6-7 and Exhibit 2 thereto; Defendants’ Third Request for

Admissions, Exhibit 3 hereto, ¶1 and Exhibit 5 thereto and Stephanie Suttle’s Answers to

Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶1.)

       10. Suttle had met Steve Calk (“Calk”) in the late 1980s when she had lived in the Chicago

area, and they became friends and dated briefly. (Suttle dep., Exhibit 1 hereto, pp. 8-10 and pp. 20-

21; Calk dep., Exhibit 7 hereto, p. 16.) Other than friending one another on Facebook sometime in

the late 2000s, they hadn’t kept in contact between then and August 3, 2016, when Suttle responded

over Facebook to an ad for refinancing that The Federal Savings Bank’s marketing department had

posted on Calk’s Facebook page saying, “Timely. Thanks!” Calk responded, “Hi, Steph, if you are

interested in refinancing give me a call on my cell at 312-961-7064. it would be great to catch up.”

She replied, “Will do.” (Suttle dep., Exhibit 1 hereto, pp. 8-10, pp. 20-21 and Exhibit 2 thereto; Calk

dep., Exhibit 7 hereto, pp. 16-17.)

       11. Suttle’s cell phone number in 2016 and 2017 was (301) 518-2400. (Suttle dep., Exhibit

1 hereto, p. 19.) Calk’s cell phone number in 2016 and 2017 was (312) 961-7064. (Calk aff.,

Exhibit 8 hereto, ¶2.) At 4:34 p.m.2 on August 8, 2016, Suttle called Calk and left him a voicemail.

(Verizon records with records custodian’s authentication, Exhibit 9 hereto, tenth page of exhibit

labeled “Page 10 of 20"at top right; Defendant’s Rule 902(11) Notice, Exhibit 10 hereto; Calk dep.,

Exhibit 7 hereto, pp. 27-36.) Calk returned the call at 10:04 p.m, on August 8, 2016, and he and

Suttle spoke for 43 minutes. (Verizon records, Exhibit 9 hereto, eleventh page of exhibit labeled

“Page 11 of 20" at top right; Calk dep., Exhibit 7 hereto, pp. 27-36.) They spoke again on August



       2
       Suttle lives in Maryland and Calk lives in Chicago. In order to make it easy to follow the
sequence of events, all times in this fact statement are stated in Eastern Time.

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15 and on August 16, 2016. (Verizon records, Exhibit 9 hereto, twelfth and thirteenth pages of

exhibit labeled, respectively, “Page 12 of 20" and “Page 13 of 20".) They then had no further contact

until October 17, 2016. (Calk dep., Exhibit 7 hereto, pp. 36-38.)

          12. Howard Soypher (“Soypher”) was Suttle’s divorce lawyer. (Soypher dep., Exhibit 11

hereto, p. 5.) In 2016 and 2017, his office phone number was (301) 951-9333 and his cell phone

number was (410) 499-1807. (Id., pp. 4-5.) In the late morning and early afternoon of October 17,

2016, Suttle had three phone calls with Soypher that lasted for a total of 33 minutes. (Verizon

records with records custodian’s authentication, Exhibit 9 hereto, twenty-second page of exhibit

labeled “9" at the bottom right.)

          13. At 1:41 p.m. on October 17, 2016, Suttle called Calk’s number. (Verizon records with

records custodian’s authentication, Exhibit 9 hereto, twenty-second page of exhibit labeled “9" at

bottom right.) She apparently did not reach Calk on that call because it lasted only one minute, (id.),

and at 1:43 p.m on October 17, 2016, she texted Calk saying, ““Hey. I’m in a bind. Wondering if

you may be able to help.” (Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶2 and

Exhibit 31 thereto, page SUTTLE 000498, and Stephanie Suttle’s Answers to Defendants’ Third

Requests For Admission, Exhibit 4 hereto, ¶2.) Calk responded, “Will call shortly.” (Id.)

          14. At 1:43 p.m., on October 17, 2016, Suttle called Soypher. (Verizon records with records

custodian’s authentication, Exhibit 9 hereto, twenty-second page of exhibit labeled “9" at bottom

right.)

          15. At 1:47 p.m. on October 17, 2016, Suttle sent Moreno an e-mail about the possibility of

using her own funds for the purchase and subsequently getting a mortgage after filing her tax returns

and paying her taxes, but Moreno asked her to call him to discuss that because there were a number


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of factors that could limit the amount of the loan she could get if she did that. (Moreno dep., Exhibit

5 hereto, pp. 9-11 and Exhibit 5 thereto; Defendants’ Third Request for Admissions, Exhibit 3

hereto, ¶1 and Exhibit 14 thereto and Stephanie Suttle’s Answers to Defendants’ Third Requests For

Admission, Exhibit 4 hereto, ¶1.)

       16. A mortgage loan taken out on a home that the homeowner already owns free and clear

is called a “cash out” loan. (Calk aff., Exhibit 8 hereto, ¶3.) In 2016, the interest rate for cash out

mortgage loans was approximately 1.75% higher than the interest rate charged for purchase money

mortgage loans, and cash out loans also carried with them a fee of 1.5% of the loan amount which

was not charged for purchase money mortgage loans. (Calk dep., Exhibit 7 hereto, p. 42.)

       17. If Stephanie Suttle took out a bridge loan and used it to purchase her ex-husband’s

interest in their former marital home, she could (if she met eligibility requirements for a traditional

home mortgage loan) subsequently do what is called a “rate and term refinance” to refinance the

entire amount of that loan with a traditional 30-year mortgage loan at the same interest rate and fees

that apply to purchase money mortgage loans. (Calk dep., Exhibit 7 hereto, p. 42 and pp. -46-47;

Calk aff., Exhibit 8 hereto, ¶4)

       18. On October 18, 2016, Calk called Suttle and the two of them spoke on the phone for a

total of 62 minutes ending ate 12:02 p.m. (Verizon records with records custodian’s authentication,

Exhibit 9 hereto, twenty-second page of exhibit labeled “9" at bottom right.) Suttle explained her

predicament and Calk told Suttle that TFSB would make a bridge loan, but that it would have to be

secured by cash deposited by Suttle in TFSB in the full amount of the loan (in addition to the

mortgage on the house which was necessary in order for Suttle to subsequently do a rate and term

refinance as she said she planned to do). (Calk dep., Exhibit 7 hereto, pp. 36-49.)


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       19. At 12:05 p.m. on October 18, 2016, Suttle called her divorce lawyer, Soypher.

(Verizon records with records custodian’s authentication, Exhibit 9 hereto, twenty-second page of

exhibit labeled “9" at bottom right.) Later that afternoon, there were four calls between Suttle and

Calk for a total of 18 minutes, and one more call from Suttle to Soypher. (Id.)

       20. On the evening of October 20, 2016, Suttle spoke to her divorce lawyer, Soypher, for a

total of 26 minutes and then, at 12:01 a.m. on October 21, 2016, she called Calk and the two of them

spoke for 57 minutes. (Verizon records with records custodian’s authentication, Exhibit 9 hereto,

twenty-third page of exhibit, which bears no page number.)

       21. At 7:48 a.m. on October 21, 2016, Suttle asked Calk via text message, “How much do

I need to move over? $417K +/-?” . (Defendants’ Third Request for Admissions, Exhibit 3 hereto,

¶2 and Exhibit 31 thereto, p. SUTTLE 00502 and Stephanie Suttle’s Answers to Defendants’ Third

Requests For Admission, Exhibit 4 hereto, ¶2.) Calk answered, “Yes Mam”. (Id.) Suttle and Calk

exchanged several more text messages that day regarding the transfer of money to The Federal

Savings Bank to serve as collateral for the loan, (id., pp. SUTTLE 00502-09), and also exchanged

three phone calls for a total of 9 minutes. (Verizon records with records custodian’s authentication,

Exhibit 9 hereto, twenty-third page of exhibit, which bears no page number.) One of Suttle’s text

messages to Calk on October 21, 2016 said, “... Earlier today I sent 2 wires totaling just over

$381,000.00. I am awaiting the settlement of additional funds so that I may wire the balance of the

$417,000.00 needed no later than Wednesday, October 26. I wish to buy out my ex husband’s share

of my home, payoff the existing mortgage and then refinance the home at a much more advantageous

rate. Thank you for your assistance in this matter. With much appreciation”. (Defendants’ Third

Request for Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE 00505 and


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Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶2.)

       22. On October 23, 2016, Suttle spoke to her divorce lawyer at 9:49 a.m. and then, at 11:39

a.m., texted Calk with information regarding securities she had just sold and said, “This will be

settling on Wed. $417K may be fully funded then.” (Verizon records with records custodian’s

authentication, Exhibit 9 hereto, twenty-fifth page of exhibit labeled “7" at bottom right;

Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE

00510 and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4

hereto, ¶2.)

       23. On October 24, 2016, Suttle spoke with her divorce lawyer for 23 minutes and with Calk

for 14 minutes, and exchanged text messages with Calk, ” (Verizon records with records custodian’s

authentication, Exhibit 9 hereto, twenty-fifth page of exhibit labeled “7" at bottom right;

Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE

00511-12 and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit

4 hereto, ¶2.)

       24. On October 24, 2016, Suttle forwarded Calk an e-mail from her divorce attorney

advising her to get the funds necessary to close to the trustee right away and asked Calk, “Please

advise how this will or will not impact my loan and future refinance.” (Defendants’ Third Request

for Admissions, Exhibit 3 hereto, ¶1 and Exhibit 1 thereto, pp. SUTTLE 00001-2 and Stephanie

Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶1.) ) Later on

October 24, 2016, Suttle texted Calk saying, “Checking that I may be able to send balance

today/tomorrow to your bank.” (Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶2

and Exhibit 31 thereto, p. SUTTLE 00511 and Stephanie Suttle’s Answers to Defendants’ Third


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Requests For Admission, Exhibit 4 hereto, ¶2.)

        25. On October 26, 2016, there were 10 calls between Suttle and her divorce lawyer and 3

calls between Suttle and Calk. (Verizon records with records custodian’s authentication, Exhibit 9

hereto, twenty-fifth page of exhibit labeled “7" at bottom right.)

        26. At 2:40 p.m. on October 26, 2016, Suttle texted Calk saying, “One of 2 things needs to

happen, within 48 hours or Scott will be offered my house and will, subsequently, be buying my

house. 1) Closing needs to be complete and funded within 48 hours OR 2) Trustee needs to have

full amount wired to her escrow account, within 48 hours, while proceeding with closing. My

attorney’s # if you wish to speak with him. Or, with your permission, I’ll give him your number and

have him call you, later this afternoon. Howard Soypher (301) 951-9333.” (Defendants’ Third

Request for Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE 00513 and

Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶2.)

Suttle then texted Calk, “Jeff is not going to agree to Scott signing. Scott is not going to agree to

signing the quit claim. Scott is willing to buy the house out from under his own kids to ensure that

this fails and Debby’s only other option isn’t to put the house on the market.” (Id., p. SUTTLE

00514.) Calk responded, “Will call you in the morning. I will do whatever you need me to do to

make this happen.” (Id., p. 00515.) Suttle replied, “Sounds good. Thanks.” (Id.)

        27.       On October 27, 2016, there were three calls between Suttle and her divorce lawyer,

(Verizon records with records custodian’s authentication, Exhibit 9 hereto, twenty-fifth page of

exhibit labeled “7" at bottom right.) After those calls, at 3:50 that afternoon, Suttle and Calk had the

following exchange of text messages:

        Suttle:          Appreciating your efforts and staying out of your hair. Huge thanks.


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       Calk:           No hassle at all

       Suttle:         Thank you, thank you, thank you.

       Calk:           Lots to do to pull this off by tomorrow

       Suttle:         What can I do?

       Calk:           Nada

       Suttle:         Let me know how I can thank you and your staff when this is done. I have
                       faith but understand that much has to fall into place quickly for this to occur.

       Calk:           I’m on it

       Suttle:         [thumbs up emoji] Thanks!!

(Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE

00515 and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4

hereto, ¶2.)

       28. At 10:23 p.m. on October 27, 2016, Suttle and Calk spoke on the phone for 31 minutes.

(Verizon records with records custodian’s authentication, Exhibit 9 hereto, twenty-fifth page of

exhibit labeled “7" at bottom right.)

       29. At 9:29 a.m. on October 28, 2016, Suttle called her divorce lawyer. (Verizon records

with records custodian’s authentication, Exhibit 9 hereto, twenty-fifth page of exhibit labeled “7"

at bottom right.) The call lasted only one minute. (Id.)

       30. At 9:32 a.m., on October 28, 2016, Suttle texted Calk saying, “I’m assuming you saw

emails related to closing. Any chance we can close today?” (Defendants’ Third Request for

Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE 00516 and Stephanie Suttle’s

Answers to Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶2.) She then forwarded



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to Calk via text message an e-mail that the trustee, Deborah Reiser, had sent to Suttle’s divorce

attorney that morning. It said, “Call me, Howard. I agree that the title issue needs to be cleared, but

that was Stephanie’s responsibility to accomplish before the 11th hour. My inclination is to wait until

COB today for Stephanie to provide the funds to close. I assume Scott will provide a quitclaim.

Failing that I will afford Scott the same 45 days, and failing that, I’ll market the house.” (Id.)

       31. Between 9:57 a.m. and 11:03 a.m. on October 28, 2016, there were 5 calls between

Suttle and her divorce lawyer, and then Suttle and Calk spoke for 28 minutes beginning at 11:13 a.m.

(Verizon records with records custodian’s authentication, Exhibit 9 hereto, twenty-fifth page of

exhibit labeled “7" at bottom right.) Suttle then spoke to her divorce lawyer at 11:59 a.m., spoke to

Calk at 12:53 p.m., and then spoke to her divorce lawyer again for 54 minutes beginning at 3:28 p.m.

(Id., twenty-fifth page of exhibit labeled “7" at bottom right and twenty-sixth page of exhibit labeled

“8" at bottom right.)

       32. On October 28, 2016, at some time after 3:00 p.m., Suttle texted Calk saying, “Will sign

and send your docs as soon as I receive them.” (Defendants’ Third Request for Admissions, Exhibit

3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE 00517 and Stephanie Suttle’s Answers to

Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶2.) Calk responded, “Please expect

an email from Ryan Murphy our in house counsel with the documents”, and Suttle replied, “Will

look for them”. (Id.)

       33. At 4:28 p.m. on October 28, 2016, Suttle received the loan documents from Ryan

Muraphy and, at 4:39 p.m. that afternoon she e-mailed Murphy, “Printing and signing now. Will

send to you, asap.” (Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶1 and Exhibit

28 thereto, and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit


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4 hereto, ¶1.)

       34. On the afternoon of October 28, 2016, Suttle had the following exchange of text

messages with Calk before she signed and returned the loan documents:

       Suttle:        Got the docs. I am reading them. Is someone available to discuss
                      with me what I’m signing? How long do you expect this to be in
                      place. And subsequently replaced by the refinance mortgage loan?

       Calk:          The term is one year. Assuming you pay your taxes, square away
                      your credit and get me your income info on your divorce etc we can
                      get you qualified and refi ASAP.

(Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE

00518 and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4

hereto, ¶2.) Suttle then asked Calk that afternoon via text, “Do you have 2 minutes to answer

questions?” and Calk responded, “Yes. Calling now.” (Id.)

       35. Calk called Suttle at 5:04 p.m. on October 28, 2016. (Verizon records with records

custodian’s authentication, Exhibit 9 hereto, twenty-sixth page of exhibit labeled “8" at bottom

right.) That call lasted only 1 minute, and he called back at 5:22 p.m. and spoke to Suttle for 15

minutes. (Id.) Suttle then called Calk at 6:19 p.m., and the two of them spoke for 5 minutes. (Id.)

       36. Suttle sent the signed loan documents back to Murphy at The Federal Savings Bank

electronically between 6:27 p.m. and 6:29 p.m. on October 28, (Ryan Murphy aff., Exhibit 12 hereto,

¶3 and Sub-Exhibit A thereto), and at 6:31 that evening, Murphy e-mailed Suttle saying, “I have

passed the documents that you have sent onto our Loan Servicing Department.” (Defendants’ Third

Request for Admissions, Exhibit 3 hereto, ¶1 and Exhibit 28 thereto, p. SUTTLE 00149 and

Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶1.)

       37. At 7:57 p.m. on October 28, 2016, Suttle and Calk had the following exchange of text


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messages:

       Suttle:           Not that I have any money [crying emoji], may I buy you and your office
                         lunch on Monday? Good deli sandwiches, or something? Small gesture of
                         my appreciation for everyone’s efforts.

       Calk:             You are so sweet. Let’s wait until we finish your final loan.

       Suttle:           We can do it then, too! An even nicer lunch when I’m back to having more
                         liquid assets.

(Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE

00519 and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4

hereto, ¶2.)

       38. Suttle never refinanced her bridge loan with a traditional mortgage loan with NFM

Lending, with TFSB, or with any other lender. (Suttle dep., Exhibit 1 hereto, pp. 111-12.)

       39. On November 2, 2016, Suttle told Moreno that she had bought the house and that she

would get back in touch with him about refinancing it when she got her tax situation straightened

out. (Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶1 and Exhibit 21 thereto, p.

SUTTLE 00149 and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission,

Exhibit 4 hereto, ¶1.)

       40. On November 15, 2016, Suttle e-mailed Moreno saying, “I’m hoping taxes will be done

this week.” (Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶1 and Exhibit 22 thereto,

p. SUTTLE 00149 and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission,

Exhibit 4 hereto, ¶1.) She then stopped responding to Romero’s e-mails. (Suttle dep., pp. 99-100.)

       41. Beginning sometime before December 9, 2016, Suttle was working with Bryan Landman

(“Landman”), a loan officer at TFSB, on a refinance. (Defendants’ Third Request for Admissions,



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Exhibit 3 hereto, ¶1 and Exhibit 1 thereto, p. SUTTLE 00024, and Stephanie Suttle’s Answers to

Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶1.)

        42.   On November 22, 2016, Suttle texted Calk, “Looks like taxes next week... .”

(Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE

00529 and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4

hereto, ¶2.) On November 28, 2016, she texted him, “I believe taxes will be filed tomorrow.”

(Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, p. SUTTLE

00520 and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4

hereto, ¶2.) But, she admitted at her deposition, that was a lie. (Suttle dep., Exhibit 1 hereto, pp.

100-02.) And on November 29, 2016, she texted him, “Taxes done.” (Id..) But that was another

lie; she had not then (and still has not) filed her tax returns or paid her taxes. (Suttle dep., pp. 88-89.)

        43. On December 9, 2016, Landman e-mailed Suttle saying, “We really need the final, filed

version of the 2015 and 2014 Tax Returns before this process is complete. (Defendants’ Third

Request for Admissions, Exhibit 3 hereto, ¶1 and Exhibit 1 thereto, p. SUTTLE 00023, and

Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶1.)

He reminded her again in e-mails he sent on January 7 January 9, January 16, January 24, January

26, February 1, and February 6, 2017. (Defendants’ Third Request for Admissions, Exhibit 3 hereto,

¶1 and Exhibit 1 thereto, pp. SUTTLE 00013-21, and Stephanie Suttle’s Answers to Defendants’

Third Requests For Admission, Exhibit 4 hereto, ¶1.)

        44. On December 9, 2016, Suttle told Calk that she had already filed her tax returns and sent

copies of the filed returns to Landman, and on January 24, 2017, and again on January 26, 2017, she

told Landman that she had previously sent him copies of her filed tax returns and would re-send


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them. (Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶2 and Exhibit 31 thereto, pp.

SUTTLE 0053-34, and Stephanie Suttle’s Answers to Defendants’ Third Requests For Admission,

Exhibit 4 hereto, ¶2; Defendants’ Third Request for Admissions, Exhibit 3 hereto, ¶1 and Exhibit

1 thereto, p. SUTTLE 00017 and p. SUTTLE 00015, and Stephanie Suttle’s Answers to Defendants’

Third Requests For Admission, Exhibit 4 hereto, ¶1.) But, as she admitted at her deposition, those

were more lies. (Suttle dep., pp. 104-106 and pp. 88-89.)

       45. On February 8, 2017, Calk informed Suttle via e-mail that TFSB was denying her

refinance application because, despite her numerous promises that she would be filing her tax returns

soon and even false assertions that she had filed the returns, she did not produce any copies of filed

tax returns (because she had not filed them). (Defendants’ Third Request for Admissions, Exhibit

3 hereto, ¶1 and Exhibit 1 thereto, pp. SUTTLE 00011-12, and Stephanie Suttle’s Answers to

Defendants’ Third Requests For Admission, Exhibit 4 hereto, ¶1.)

       46. Suttle has never made any payments on her loan from TFSB. (Suttle dep., Exhibit 1

hereto, p. 109.)

       47. The fees to TFSB for making the Suttle loan were $9,840. (Suttle dep., Exhibit 1 hereto,

p. 81 and Exhibit 19 thereto; First Amended Complaint, Doc. #17, ¶38.)

       48. On June 19, 2017, TFSB used the $417,000 that Suttle had deposited into an account at

TFSB as collateral for her loan to offset amounts owed on the loan. (Murphy aff., Exhibit 12 hereto,

¶4 and Sub-Exhibit B thereto.)

       49. As of June 19, 2017, after applying the $417,000 that was in Suttle’s TFSB account

to amounts owed on the loan, there was still due and owing from Suttle a principal balance of

$10,398.82. (LIBOR historical rate compilation,


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https://www.macrotrends.net/1433/historical-libor-rates-chart, copy attached hereto as Exhibit 2;

spreadsheet, Exhibit 13 hereto.)

       50. Section 7 of the Loan Note provides, in pertinent part:

       Upon the occurrence of an Event of Default, which remains uncured beyond all
       applicable grace, notice and cure periods, which includes failure to pay when
       payments are due..., the Payee, at its option, may enforce the following remedies and
       or any other remedies available to the Payee under applicable law: ... declare an
       increase in the interest rate to thirteen percent (13%) per annum... ..

(Suttle dep., Exhibit 1 hereto, p. 77 and Exhibit 18 thereto.)

       51. On September 28, 2020, TFSB declared a increase in the interest rate to 13% per annum.

(Doc. #37, p. 23.)

       52. Interest on the remaining principal balance of $10,398.82 at LIBOR + 5% from June 19,

2017 to September 28, 2020 is $2,576.05.                    (LIBOR historical rate compilation,

https://www.macrotrends.net/1433/historical-libor-rates-chart, copy attached hereto as Exhibit 2;

spreadsheet, Exhibit 13 hereto.)

       53. The Loan Note for Suttle’s loan from TFSB provides that interest is to be calculated on

the basis of a 360-day year. (Suttle dep., Exhibit 1 hereto, p. 77 and Exhibit 18 thereto, §3(a).)

       54. The Loan Note and the Loan Agreement for Suttle’s loan from TFSB each provide for

the payment by Suttle of TFSB’s attorneys’ fees “incident to the...satisfaction” of the loan “upon the

rendering of such bill and delivery thereof to” Suttle. (Suttle dep., Exhibit 1 hereto, p. 77, p. 81,

Exhibit 18 thereto, p. 5 and Exhibit 19 thereto, p. A-6.)




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                                                  STEPHEN CALK and THE FEDERAL
                                                  SAVINGS BANK

                                                  By      /s/ Daniel S Hefter
                                                            One of Their Attorneys


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Dated: April 30, 2021



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on April 30, 2021, the foregoing Defendants’
Statement of Material Facts as to Which There is No Genuine Issue was served on all counsel who
have appeared through the Court’s electronic filing and service system.


                                                               /s/ Daniel S. Hefter
                                                              Daniel S. Hefter




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